Case 2:05-cr-80231-PJD-VMM ECF No. 166, PageID.488 Filed 01/18/07 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,
vs.                                                   Criminal No. 05-80231
                                                      Honorable Patrick J. Duggan
D-4 DAMIAN BALL,

                  Defendant.
________________________________/

                         PRELIMINARY ORDER OF FORFEITURE

       WHEREAS, the Indictment issued April 4, 2005, charged defendant Damian Ball with

violations of 21 U.S.C. § 846 and § 841 (Conspiracy to possess with intent to distribute and to

distribute a controlled substance);

       WHEREAS, the Indictment contained a Money Judgment Count, which sought, upon

conviction of one or more of the controlled substance violations, entry of a money judgment equal

to Five Hundred Thirty-Two Thousand Four Hundred Dollars ($532,400.00) in United States

Currency funds, for which the defendants would be jointly and severally liable.

       WHEREAS, on April 25, 2006, defendant Damian Ball entered into a Rule 11 Plea

Agreement, in which he pled guilty to Count One of the Indictment, including the forfeiture as set

forth above;

       NOW THEREFORE, a money judgment in the amount of Five Hundred Thirty-Two

Thousand Four Hundred Dollars ($532,400.00) is entered against defendant Damian Ball, for which

he is joint and severally liable with his co-defendants, Michael Elliott and Cartrell Tate.

       Upon entry of this Order, the United States or a designee is authorized to seize any assets that


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Case 2:05-cr-80231-PJD-VMM ECF No. 166, PageID.489 Filed 01/18/07 Page 2 of 2




could satisfy the money judgment, pursuant to Federal Rule of Criminal Procedure 32.2(b)(3).

       The Court shall retain jurisdiction to enforce this Order, and to amend it as necessary,

pursuant to Fed.R.Crim.P. 32.2(e).

                                                     SO ORDERED.




                              s/Patrick J. Duggan
                              Patrick J. Duggan
                              United States District Judge

Dated: January 18, 2007

I hereby certify that a copy of the foregoing document was served upon counsel of record on January
18, 2007, by electronic and/or ordinary mail.

                              s/Marilyn Orem
                              Case Manager




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